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                Exhibit B
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                               BEN BARNOW
Experience and Achievements

      Ben Barnow is nationally recognized for his experience leading and
successfully resolving some of the nation’s largest consumer class actions. He is the
founder and President of Barnow and Associates, P.C., and has been recognized as a
Titan of the Plaintiffs Bar. 1 He has served as a lead class counsel, co-lead class
counsel, or equivalent designation, in over forty major class actions that were
successfully resolved, resulting in benefits valued in excess of five billion dollars being
made available to class members. A summary of the results Ben Barnow has achieved
can be found on his firm’s website, www.barnowlaw.com/case-results/.

       These successes include Warner v. Toyota Motor Sales, U.S.A., Inc., No. CV 15-
2171 (C.D. Cal.), where Mr. Barnow served as a Class Counsel and a settlement
valued at approximately $3.4 billion was reached and the Wisconsin Civil Microsoft
Antitrust Litigation, where a $224 million settlement was reached after he and his
Co-Lead Counsel successfully petitioned the Wisconsin Supreme Court regarding the
scope of Wisconsin’s antitrust laws. He also served as a Co-Lead Class Counsel in the
Arkansas, Kansas, and South Dakota Microsoft civil antitrust cases where significant
settlements were achieved.

       Mr. Barnow served as one of Co-Lead Class Counsel in the High Sulfer Content
Gasoline Prods. Liab. Litig., MDL No. 1632, a 26-case MDL relating to a defendant’s
alleged sale of defective gasoline, where a settlement making approximately $100
million available to satisfy consumers’ claims was reached and approved. He was also
a Co-Lead Class Counsel in Schulte v. Fifth Third Bank (N.D. Ill.), an overdraft case
where a settlement was reached providing for a $9.5 million settlement fund and
injunctive relief valued at $108.3 million over ten years, and Schwab v. America
Online, Inc. (America Online Access Litigation), where he organized over 50 law firms
and negotiated a class settlement providing relief to a class estimated to include over
8 million people.

       Mr. Barnow has been at the forefront of consumer privacy class actions for over
a decade. He served as a Co-Lead Class Counsel in the following eight major privacy
class actions that successfully settled on a class basis: In Re Sony Gaming Networks
and Customer Data Sec. Breach Litig., MDL No. 2258 (S.D. Cal.) (60+ case data
breach MDL against an electronics company); In Re: TJX Retail Sec. Breach Litig.,
MDL No. 1838 (D. Mass.) (data breach MDL against a national retailer); In Re:
Countrywide Financial Corp. Customer Data Sec. Breach Litig., MDL No. 1998 (W.D.

1See Sindhu Sundar, Law360, Titan of the Plaintiffs Bar: Ben Barnow (Oct. 8,
2014), https://www.law360.com/articles/585655/titan-of-the-plaintiffs-bar-ben-
barnow.
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Ky.) (40-case MDL relating to an employee’s theft and sale private and confidential
information); Lockwood v. Certegy Check Servs., Inc., No. 07-cv-1434 (M.D. Fla.)
(privacy action relating to an a database administrator’s theft and sale of customer
records to third parties); Rowe v. Unicare Life and Health Ins. Co., No. 1:09-cv-02286
(N.D. Ill.) (privacy action relating to a health insurer’s disclosure of private health
information); In re: Heartland Payment Systems Inc. Data Sec. Breach Litig., MDL
No. 2046 (S.D. Tex.) (data breach MDL against a payment card processor); McGann
v. Schnuck Markets, Inc., No. 1322-CC00800 (Mo. Cir. Ct.) (involving a payment card
data breach at a regional supermarket chain); and Ori v. Fifth Third Bank, No. 08-
CV-00432 (E.D. Wis.) (privacy actions alleging that inactive mortgage loans had been
erroneously reported as active to consumer credit reporting agencies).

       In a number of these privacy cases, the presiding judge expressly
complimented the skill and professionalism of Mr. Barnow and his colleagues. By way
of example, at the final fairness hearing in the Sony MDL, the Honorable Anthony J.
Battaglia remarked: “Just in the final analysis, the order, much like all the work by
both sides throughout the case, has been impeccable, highly professional, and skilled.
It’s been a real pleasure dealing with you.” The Honorable Chief Judge Russel offered
a similar compliment in approving the Countrywide settlement, expressing that “the
Court was impressed with Co-Lead Counsel and Countrywide’s counsels’ knowledge
and skill, as represented in the various motions and hearings that took place
throughout this settlement process.”

        As a recognized expert in privacy and MDL litigation, Mr. Barnow has
presented at a number of legal education events regarding, among other topics,
privacy and data security breach litigation, settlement, and the practicalities of MDL
litigation.

Education, Admissions, and Professional Affiliations

       Mr. Barnow received his Juris Doctor from the University of Michigan Law
School. He is licensed to practice in the State of Illinois and the State of New York.
He is also admitted to practice before the Supreme Court of the United States, the
United States Court of Appeals for the First, Third, Sixth, Seventh, Eighth, and
Ninth Circuits, and the United States District Court for the Northern District of
Illinois, the Eastern District of Wisconsin, the Western District of Wisconsin, and the
District of Colorado. He is a member of the American Bar Association, the American
Association for Justice, the Illinois State Bar Association, the Chicago Bar
Association, and is listed in Martindale-Hubbell with an AV rating.
